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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

                 Plaintiffs,

        v.                                                       Civil Action No. 1:21-cv-445 (CJN)

MY PILLOW, INC., et al.,

                 Defendants.


                                                      ORDER

         US Dominion, Inc. and other related corporate entities sued My Pillow, Inc. and Michael

J. Lindell, among others, on the grounds that those Defendants defamed the Plaintiffs based on

statements made in connection with the 2020 presidential election. See Memorandum Opinion,

ECF No. 54. Defendants moved to dismiss all of Dominion’s claims, see My Pillow, Inc.’s Motion

to Dismiss, ECF No. 30; see also Michael J. Lindell’s Motion to Dismiss, ECF No. 34, and for the

reasons explained in the Court’s August 11, 2021 Memorandum Opinion, the Court denied those

motions. See Order, ECF No. 53; see also Memorandum Opinion, ECF No. 54. Days later, My

Pillow moved to modify the Court’s Order and its Memorandum Opinion as well as to certify two

questions for interlocutory appeal. See Defs.’s Mot. to Modify and for Interlocutory Appeal

(“Defs.’s Mot.”), ECF No. 58. Lindell joins My Pillow’s Motion. See Lindell’s Notice of Joinder,

ECF No. 77. The Court denies the Motion for the reasons that follow.1




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  Less than a month after the Court denied Defendants’ motion to dismiss, and less than two weeks after Defendants
filed the motion to certify both questions for appeal, Defendants also filed a notice of appeal from the same order. See
Notice of Appeal, ECF No. 64. The Court of Appeals has since dismissed the appeal and the mandate has been
returned to this Court. See Mandate Issued to District Court in US Dominion, Inc., et al. v. My Pillow, Inc., et al., 21-
7103 (March 1, 2022).



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       28 U.S.C. § 1292(b) authorizes a district court to certify a nonfinal order for interlocutory

appeal in certain circumstances. The statute states in relevant part that:

       (b) When a district judge, in making in a civil action an order not otherwise
       appealable under this section, shall be of the opinion that such order involves a
       controlling question of law as to which there is substantial ground for difference of
       opinion and that an immediate appeal from the order may materially advance the
       ultimate termination of the litigation, he shall so state in writing in such order.

The party seeking certification must demonstrate that the order “[1] involves a controlling question

of law [2] as to which there is substantial ground for difference of opinion and that [3] an

immediate appeal from the order may materially advance the ultimate termination of the

litigation.” Citizens for Resp. & Ethics in Washington v. Am. Action Network, 415 F. Supp. 3d

143, 144–45 (D.D.C. 2019) (quotation omitted); Swint v. Chambers Cty. Comm’n, 514 U.S. 35,

47 (1995) (unpacking the history of 28 U.S.C. § 1292(b)). All three criteria must be satisfied, see

Azima v. RAK Inv. Auth., 325 F. Supp. 3d 30, 34 (D.D.C. 2018), but even then, a court maintains

the discretion to decline certification because a piecemeal appeal “undermines efficient judicial

administration and encroaches upon the prerogatives of district court judges, who play a special

role in managing ongoing litigation,” Mohawk Indus., Inc. v. Carpenter, 558 U.S. 100, 106 (2009)

(quotation omitted).

       Defendants request that the Court modify its August 11, 2021 Order and Memorandum

Opinion to include two questions for certification:

       (1) “Whether a defamation complaint by a public official against critics of its
       official conduct must be dismissed at the pleading stage under New York Times v.
       Sullivan if the complaint (a) fails to allege any direct evidence of a statement or act
       that the defendant knew was false, and (b) relies only on circumstantial inferences
       to prove reckless disregard; and

       (2) whether, under New York Times v. Sullivan, a court may deny a motion to
       dismiss a defamation complaint by a public official against critics of its official
       conduct without taking judicial notice of material establishing a robust public
       debate on the issues set forth in the complaint.” Defs.’s Mot. at 5.



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The Court declines to certify both questions.

       As to the first, My Pillow has not demonstrated that there is a substantial ground for

difference of opinion regarding whether a public official must proffer “direct” evidence, and not

rely just on circumstantial evidence, in seeking to prove that a speaker acted with actual malice.

The request to impose a higher burden of proof on public-official plaintiffs—such that direct

evidence is necessary and circumstantial evidence alone is insufficient to plausibly allege actual

malice—runs headfirst into binding precedent. It is well established that circumstantial evidence

can prove a defendant’s state of mind in the defamation context, see Herbert v. Lando, 441 U.S.

153, 165 (1979); Jankovic v. Int’l Crisis Grp., 822 F.3d 576, 589 (D.C. Cir. 2016) (quotation

omitted) (“The plaintiff can prove the defendant’s subjective state of mind through the cumulation

of circumstantial evidence, as well as through direct evidence.”), and Defendants have not pointed

to (and the Court is not otherwise aware of) a decision suggesting that a different rule applies

where the plaintiff is a public official. Indeed, the cases are legion in which public-official

plaintiffs have been permitted to pursue claims of malice based on circumstantial evidence. See,

e.g., Tah v. Glob. Witness Publ’g, Inc., 413 F. Supp. 3d 1, 12 (D.D.C. 2019), aff’d, 991 F.3d 231

(D.C. Cir. 2021); Fairfax v. CBS Corp., 2 F.4th 286, 293 (4th Cir. 2021).

       The Court declines to certify the first question for an additional reason: it does not involve

a “controlling” question of law. See Judicial Watch, Inc. v. Nat’l Energy Policy Dev. Group, 233

F. Supp. 2d 16, 19 (D.D.C. 2002) (quotation omitted) (“[A] controlling question of law is one that

would require reversal if decided incorrectly or that could materially affect the course of litigation

with resulting savings of the court’s or the parties’ resources.”). The Court assumed without

deciding that Dominion is a public official, and even if the rule proposed by My Pillow were

adopted for certain public officials, it is not clear that it would apply here. Moreover, Dominion



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relies on exhibits that may in fact establish direct evidence of knowledge of falsity or reckless

disregard of the truth. See Pls.’s Mem. in Opp’n, ECF No. 72 at 12. All of this means litigation

would continue apace even in the unlikely event the Court of Appeals resolved the first question

in the Defendants’ favor.

       As to the second question, My Pillow has not made a serious argument that a court is

required, at the motion to dismiss stage in a defamation case, to consider and weigh factual

materials outside the pleadings and relied on by the defendant. That is obviously not the way it

typically works, see Menoken v. Dhillon, 975 F.3d 1, 8 (D.C. Cir. 2020) (concluding that at the

motion to dismiss stage, “the district court erred by relying on two documents outside the

complaint”), and My Pillow has not pointed to (and again the Court is not aware of) any decision

suggesting that a different rule should apply in the defamation context.

       Nor does this second question necessarily involve a controlling question of law.

Defendants presume that had the Court taken judicial notice of certain exhibits, the Court would

have arrived at a different outcome because the allegedly defamatory statements would have been

deemed plausible, see Defs.’s Mot. at 7, and thus, as a matter of law, Dominion could not prove

knowledge of falsity or reckless disregard for the truth. But that is certainly not an obvious

conclusion, and the Court will reserve “weighing and considering the facts relied upon by each

party” until the summary judgment stage. In re Domestic Airline Travel Antitrust Litig., 221 F.

Supp. 3d 46, 71–72 (D.D.C. 2016).

       One last note. Even if the Court concluded that Defendants satisfied all three prongs on

both questions (which they have not), the Court would exercise its discretion and decline to certify

under 28 U.S.C. § 1292(b) either question for interlocutory appeal. See Ryan, Beck & Co., LLC v.

Fakih, 275 F. Supp. 2d 393, 396 (E.D.N.Y. 2003) (quotation omitted) (noting that “district court




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judges retain unfettered discretion to deny certification of an order for interlocutory appeal even

where the three legislative criteria of § 1292(b) appear to be met”); Villarreal v. Caremark LLC,

85 F. Supp. 3d 1063, 1068 (D. Ariz. 2015). It is for good reason that “interlocutory appeals are

rarely allowed.” Nat’l Cmty. Reinvestment Coal. v. Accredited Home Lenders Holding Co., 597

F. Supp. 2d 120, 122 (D.D.C. 2009) (quotation omitted). Only “exceptional circumstances justify

a departure from the basic policy of postponing appellate review until after the entry of final

judgment.” Id. (quotation omitted). The questions raised for certification here are far from

exceptional. Plus, additional fact development would aid in the resolution of the fact-based nature

of the proposed certification questions.

       In conclusion, and upon review of Defendants’ Motion for an Interlocutory Appeal under

28 U.S.C. § 1292(b), ECF No. 58, it is ORDERED that Defendants’ Motion is DENIED.

       It is so ORDERED.


DATE: March 1, 2022
                                                            CARL J. NICHOLS
                                                            United States District Judge




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